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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                              )
    In re:                                                    )    Chapter 11
                                                              )
    PES Administrative Services, LLC,1                        )    Case No. 19-11629 (LSS)
                                                              )
                             Reorganized Debtor.              )    (Jointly Administered)
                                                              )    (Formerly Jointly Administered under
                                                              )    Lead Case: PES Holdings, LLC, Case
                                                              )    No. 19-11626)
                                                              )    Re: Docket No. 126

                ORDER GRANTING THE JOINT TENTH MOTION OF
              THE PES LIQUIDATING TRUST AND THE GUC CLAIMS
           ADMINISTRATOR FOR ENTRY OF AN ORDER EXTENDING THE
       DEADLINE TO FILE AND SERVE OBJECTIONS TO CLAIMS OR INTERESTS

             Upon the motion (the “Motion”)2 of the Liquidating Trust and the GUC Administrator for

entry of an order (this “Order”): (a) extending the deadline by which the Movants must file and

serve objections to Claims or Interests in the Debtors by 120 days, through and including April 10,

2024; and (b) granting related relief; and the Court having found that it has jurisdiction over this

matter pursuant to 28 U.S.C. §§ 157 and 1334; and the Court having found that this is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2); and the Court having found that venue of these

cases and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and

the Court having found that the relief requested in the Motion is in the best interests of the Debtors’

estates, their creditors, and other parties in interest; and the Court having found that the Movants

provided appropriate notice of the Motion and the opportunity for a hearing on the Motion under


1     The Reorganized Debtors in these chapter 11 cases, along with the last four digits of each Reorganized Debtor’s
      federal tax identification number, are: PES Holdings, LLC; North Yard GP, LLC; North Yard Logistics, L.P.;
      PES Administrative Services, LLC (3022); PES Energy Inc.; PES Intermediate, LLC; PES Ultimate Holdings,
      LLC; and Philadelphia Energy Solutions Refining and Marketing LLC. On March 28, 2022, the Court entered
      an order [Docket No. 1900] closing the chapter 11 cases of the Reorganized Debtors other than
      Case No. 19-11629 (LSS), PES Administrative Services, LLC.
2     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.
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the circumstances; and the Court having reviewed the Motion and having heard the statements in

support of the relief requested therein at a hearing, if any, before the Court (the “Hearing”); and

the Court having determined that the legal and factual bases set forth in the Motion and at the

Hearing establish just cause for the relief granted herein; and upon all of the proceedings had

before the Court; and after due deliberation and sufficient cause appearing therefor, it is HEREBY

ORDERED THAT:

         1.        The Motion is granted as set forth herein.

         2.        The Claims Objection Bar Date is extended through and including April 10, 2024

as to the Movants and all other parties in interest.

         3.        This Order shall be subject to and without prejudice to the rights of any party to

request further extensions of time to file and serve objections to Claims and Interests pursuant to

the terms of the Plan.

         4.        Notice of the Motion as provided therein shall be deemed good and sufficient and

the requirements of the Local Rules are satisfied by such notice.

         5.        Notwithstanding the possible applicability of Bankruptcy Rules 6004(h), 7062,

9014 or otherwise, the terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

         6.        All time periods set forth in this Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).




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        7.      The Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation of this Order.




        Dated: December 28th, 2023                   LAURIE SELBER SILVERSTEIN
                                                     UNITED STATES BANKRUPTCY JUDGE
        Wilmington,
DE:4860-4505-5894.2    Delaware
                    70753.001                    3
